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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON



LUCAS CARRILLO, Personal Representative        Case No. 3:21-cv-1340-YY
of the Estate of Aaron Joseph Danielson,
                                               JUDGMENT
               Plaintiff,

      v.

THE CITY OF PORTLAND, a municipal
corporation; MICHAEL SCHMIDT, an
individual; and EDWARD TEVIS (TED)
WHEELER, an individual

               Defendants.


      Based on the Court’s ORDERS dated August 30, 2022 and September 1, 2022,

      IT IS ADJUDGED that this case is DISMISSED with prejudice.

      DATED this 1st day of September, 2022.

                                               /s/ Michael H. Simon
                                               Michael H. Simon
                                               United States District Judge




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